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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE
 8
     ILYA MIRONOV, an individual,                  Case No.: 2:22-cv-00416
 9
                    Plaintiff,                     NOTICE OF REMOVAL
10
           vs.
11
     PHH MORTGAGE CORPORATION, a
     New Jersey Corporation,
12
                    Defendant.
13

14          TO:             Clerk of the Court

15          AND TO:         All Parties

16
            Please take notice that Defendant PHH Mortgage Corporation (“Defendant PHH”) hereby
17
     removes the case now pending in the King County Superior Court, assigned Case No. 22-2-
18
     02913-7 SEA, to the United States District Court for the Western District of Washington, pursuant
19
     to 28 U.S.C. §§ 1332 and 1446. Defendant PHH appears for the purpose of removal only and for
20
     no other purpose, and reserves all defenses and rights available to it. Defendant PHH does not
21
     waive any defenses, including improper venue. In support of this Notice of Removal, Defendant
22
     PHH states as follows:
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      NOTICE OF REMOVAL                                                                   HOUSER LLP
      CASE NO.                                                             600 University St., Ste. 1708
      Page 1                                                                        Seattle, WA 98101
                                                                                   PH: (206) 596-7838
                                                                                 FAX: (206) 596-7839
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 1            I.         STATEMENT OF FACTS AND PROCEDURAL BACKGROUND

 2           On March 1, 2022, Plaintiff Ilya Mironov (the “Plaintiff”) filed a Complaint for Damages

 3   in King County Superior Court, Washington. The Complaint names Defendant PHH as the sole

 4   defendant joined as a party. Defendant PHH is not a citizen of Washington, nor is Defendant

 5   PHH’s principal place of business is located in Washington State. Declaration of Nicholas A.

 6   Reynolds in Support of Notice of Removal (“Decl.”), Exhibit #1. On or about March 1, 2022,

 7   Defendant PHH received a copy of the Complaint. Id. at ¶ 3.

 8           Plaintiff’s Complaint alleges that Plaintiff is a resident of Washington State. The

 9   Complaint alleges claims for injuries and damages related to the real property located at 2385

10   Hughes Avenue SW, Seattle, King County, Washington (the “Property”), which is valued at

11   $908,000.00 by the King County Assessor. Decl., Ex. # 2. Plaintiff’s Complaint sets forth causes

12   of action for breach of contract, breach of the duty of good faith and fair dealing, as well as

13   violation of Washington’s consumer protection act statute. Decl., Ex. # 3.

14                                  II.     BASIS FOR REMOVAL

15           The United States District Court has original jurisdiction over this action pursuant to 28

16   U.S.C. § 1332(a) because (1) there is complete diversity of citizenship between the Plaintiff and

17   the Defendant; and (2) the amount in controversy exceeds $75,000.00.

18   A.      Diversity Jurisdiction Exists Between the Parties.

19           This is a civil action over which this Court has original jurisdiction, based on diversity

20   jurisdiction. Pursuant to 28 U.S.C. § 1332, a civil action brought in a state court may be removed

21   by the defendant if the amount in controversy exceeds $75,000.00 and it is between citizens of

22   different states.

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 1             The Plaintiff’s Complaint states that he is entitled to contractual benefits and extra-

 2   contractual remedies. Plaintiff has pled contractual and extra-contractual claims that place the

 3   value of the case at greater than $75,000. Here, the amount in controversy exceeds $75,000.00

 4   because the Plaintiff has explicitly made a claim for economic damages equal to or greater than

 5   $39,893.97 and has pled a cause of action seeking treble damages under RCW 19.86 et seq that

 6   place the case value above the amount in controversy threshold.

 7             The requirement for diverse citizenship is also met. Plaintiff is a citizen and resident of

 8   Washington. Defendant PHH is a corporation organized under the laws of the state of New Jersey,

 9   with its principal place of business in New Jersey. Therefore, under 28 U.S.C. § 1332(c)(1),

10   Defendant PHH is a citizen of New Jersey for diversity purposes.

11                                    III.    TIMING OF REMOVAL

12             Defendant PHH’s removal herein is timely. Pursuant to 28 U.S.C. § 1446(b), notice of

13   removal is timely filed “within thirty days after receipt by the defendant, through service or

14   otherwise, of a copy of the initial pleading setting forth the claim for relief upon which such action

15   or proceeding is based.” Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 354

16   (1999).

17             The thirty-day time period in which the defendant must remove the case is determined

18   through examination of the four corners of the applicable pleadings. Harris v. Bankers Life &

19   Cas. Co., 425 F.3d 689, 694 (9th Cir. 2005). In such case, notice of removal may be filed within

20   thirty days after receipt by the defendant, of a copy of an amended pleading, motion order, or

21   other paper from which it may first be ascertained that the case is one which is or has become

22   removable. 28 U.S.C. § 1446 (b).

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 1          Here, the Affidavit of Process Server provided by the Plaintiff reflects that a copy of the

 2   Complaint, Order Setting Case Schedule and Case Information Cover Sheet were personally

 3   served on an agent of Defendant PHH authorized to receive service of process on or about March

 4   1, 2022. Accordingly, the removal of proceedings is timely.

 5                                            IV.    VENUE

 6          Removal to the United States District Court for the Western District of Washington, is

 7   appropriate because the Superior Court of King County, Washington is within this Court’s District

 8   and Division. See 28 U.S.C. §1446(a). That said, Defendants reserve all defenses, including the

 9   right to challenge improper venue.

10                  V.     NOTIFICATION TO STATE COURT OF REMOVAL

11          Contemporaneously with the filing of this Notice of Removal, counsel for Defendant PHH

12   is serving written notice on the Plaintiff and filing the same with the Clerk of the Superior Court

13   of King County, Washington, as required by 28 U.S.C. § 1446(d). Decl. ¶ 4.

14                          VI.     STATE COURT FILINGS ATTACHED

15          Pursuant to 28 U.S.C. § 1446(a), true and accurate copies of all process, pleadings and

16   orders received by Defendants and filed in the State Court Action are attached as Exhibit 1.

17          The removal of this action terminates all potential proceedings in King County Superior

18   Court. See 28 U.S.C. § 1446(d).

19                                             VII. CONCLUSION

20          Defendant PHH respectfully gives notice that the above-entitled action is removed from

21   the Superior Court of King County, Washington, to the United States District Court for the

22   Western District of Washington.

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 1        Dated: April 1, 2022.

 2                                     HOUSER LLP

 3
                                       By:/s/ Nicholas A. Reynolds
 4                                     Nicholas A. Reynolds (WSBA 44935)
                                       nreynolds@houser-law.com
 5
                                     By: s/ Robert W. Norman, Jr.
 6                                      Robert W. Norman, Jr. (WSBA 37094)
                                        bnorman@houser-law.com
 7                                      Attorneys for Defendant PHH Mortgage
                                        Corporation
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 1                                CERTIFICATE OF SERVICE

 2          I the undersigned declare as follows: I am over the age of 18 years and am not a party to

 3   this action. On April 1, 2022, I served the foregoing document(s): NOTICE OF REMOVAL in

 4   the manner described below:

 5        Reed Yurchak
          Law Office of Reed Yurchak                           U.S. Mail, Postage Prepaid
 6        620 131st Avenue NE                                  E-mail/KC E-Service
          Bellevue, WA 98005                                   UPS 2 Day Shipping
                                                               Courier
 7        reed@yurchaklaw.com
          Attorneys for Plaintiff
 8
            I declare under penalty of perjury under the laws of the United States of America that the
 9
     foregoing is true and correct.
10

11   Dated: April 1, 2022
                                                   s/ Jasmine Blanco
12                                                 Jasmine Blanco

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